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    April 1, 2022

    VIA PACER ONLY

    Hon. Mark W. Pedersen
    United States Magistrate Judge
    Western District of New York

                    Re:     Santiago v. The City of Rochester, et al.
                            Case No.      :       6:14-cv-06719
                            Our File No. :        9824

    Dear Judge Pedersen:

           On behalf of plaintiff Carlos A. Santiago, and with the consent of counsel for the remaining
    defendants in this action, I respectfully request an extension of the discovery deadlines issued by
    the Court at the scheduling conference on July 22, 2021 (Docket 130). At that conference, the
    following deadlines were discussed:

            •       Fact discovery to end on November 19, 2021;
            •       Plaintiff to identify an expert by December 21, 2021; and
            •       Defendants to identify an expert by January 31, 2022.

             My office was appointed pro bono counsel for the limited purpose of discovery on
    November 18, 2021 (Docket 136). Following our initial meeting with Mr. Santiago and review of
    this file, we learned that there was a pending motion for judgment on the pleadings by defendant
    County of Monroe, which Mr. Santiago opposed pro se on March 7, 2022 as my office was not
    retained for that motion (Docket 140). The Hon. Frank P. Geraci, Jr. decided that motion on March
    23, 2022 (Docket 141).

            Upon the consent of counsel for the remaining defendants, plaintiff respectfully requests
    the following enlargement of the discovery deadlines as follows:

            •       Fact discovery to end on August 19, 2022;
            •       Plaintiff to identify an expert by September 19, 2022; and
            •       Defendants to identify an expert by October 19, 2022.




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       Alternatively, if the Court requires a scheduling conference with all parties before issuing
a new scheduling order, plaintiff respectfully requests that conference be scheduled as soon as
possible.


                                             Respectfully submitted.,

                                             MURA|LAW GROUP, PLLC


                                             William A. Lorenz, Jr.

WAL/me

cc:    Counsel for defendants (via PACER)
